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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

BOARDS OF TRUSTEES OF THE                   * Case No. 2:20-cv-614
OHIO LABORERS BENEFITS,
                                            *
      Plaintiffs,
                                            *
v.
                                            *
CHARDON CONCRETE, INC.,                         COMPLAINT

                                            *
      Defendant.
                                            *

         Plaintiffs Boards of Trustees of the Ohio Laborers Benefits, by and through

undersigned counsel, state their Complaint as follows:

                                PRELIMINARY STATEMENT

         Plaintiffs bring this action seeking equitable relief, monetary relief, costs, and

attorneys’ fees. Specifically, Plaintiffs seek an audit of Defendant’s financial records from

January 1, 2018 until present, which Defendant has refused to date. It is known that

Defendant currently owes $4,556.79 for its own work—that is, $1,519.00 in delinquent

contributions, $2,987.79 in liquidated damages and interest, and $50.00 in NSF fees—plus

court costs and attorneys’ fees. Moreover, Plaintiffs seek, upon completion of the audit,

delinquent contributions, liquidated damages, and interest attributable to delinquent

contributions pursuant to the terms of governing plan documents. Further, Plaintiffs seek an

additional $32,544.81 for work performed by an alter ego/single employer—that is,

$5,971.43 in liquidated damages and interest and $1,785.00 in attorney fees on a judgment

rendered against Defendant’s alter ego Headlands Contracting & Tunneling, Inc. in Case No.

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2:15-cv-03002; plus $1,029.92 in liquidated damages and interest and $1,785.00 in attorney

fees on a judgment rendered against Defendant’s alter ego Headlands Contracting &

Tunneling, Inc. in Case No. 2:16-cv-00433; plus $12,093.86 in contributions, $9,854.60 in

liquidated damages and interest, and $25.00 in NSF fees not included in the judgments.

Finally, Plaintiffs seek orders from this Court (1) enjoining Defendant from further breaching

the terms of the plan documents and violating ERISA and (2) enforcing the terms of the plan

documents and ERISA.

                                 JURISDICTION AND VENUE

1.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, 29 U.S.C. § 185, and 29 U.S.C. § 1132(e).

2.       Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part of

the events or omissions giving rise to the claim occurred in Franklin County, Ohio and

under 29 U.S.C. § 1132(e)(2) because the plans are administered in Franklin County, Ohio.

3.       Under 29 U.S.C. § 1132(h), a copy of this Complaint has been served upon the

Secretary of Labor and the Secretary of the Treasury by certified mail.

                                           PARTIES

4.       Plaintiffs are the fiduciaries of three employee benefit plans—the Ohio Laborers’

District Council – Ohio Contractors’ Association Insurance Fund, the Laborers’ District

Council and Contractors’ Pension Fund of Ohio, the Ohio Laborers’ Training and

Apprenticeship Trust Fund—and one labor-management cooperative trust known as Ohio

Laborers’ District Council – Ohio Contractors’ Association Cooperation and Education

Trust. The plans collectively are known as the “Ohio Laborers Benefits,” and maintain their

principal office and place of business at 800 Hillsdowne Road, Westerville, Ohio 43081.


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The plans also are obligated pursuant to collective bargaining agreements to collect

contributions to the LIUNA Tri-Funds, three national labor-management cooperative trusts.

5.        Defendant Chardon Concrete, Inc. (“Defendant”) is an Ohio corporation that

maintains its principal place of business in Geauga County, Ohio.              Defendant is an

“employer” in “commerce” or “affecting commerce” within the meaning of 29 U.S.C. §

1002(5), 29 U.S.C. § 1002(1), and 29 U.S.C. § 1002(12), and within the meaning of 29 U.S.C.

§ 152(2), 29 U.S.C. § 152(5), and 29 U.S.C. § 152(7). On June 12, 2019, the National Labor

Relations Board determined that Defendant Chardon and Headlands Contracting &

Tunneling, Inc. (“Headlands”) were alter egos and operated as a single employer.

                                    FACTUAL BACKGROUND

6.        The allegations above are incorporated specifically by reference as if fully re-alleged

herein.

7.        Defendant, Laborers’ District Council of Ohio, and Laborers International Union of

North America, Local 860 all are signatory to the Ohio Highway - Heavy - Municipal - Utility

State Construction Agreement (“CBA”) and have been since January 1, 2018.

8.        Defendant was at all times relevant bound to the Agreements and Declarations of

Trust establishing the Ohio Laborers Benefits and the LIUNA Tri-Funds by virtue of

executing the CBA.

9.        All of those referenced documents obligated Defendant to file monthly contribution

reports, permit audits of its financial records, and make hourly contributions to the Ohio

Laborers Benefits on behalf of all persons as defined in the aforesaid collective bargaining

agreement.




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10.       The CBA, the Agreements and Declarations of Trust, and the rules and regulations

promulgated by the Boards of Trustees for the Ohio Laborers Benefits authorize Plaintiffs

to conduct an audit of financial records, collect delinquent contributions, and assess and

collect liquidated damages and interest where an employer like Defendant fails to timely

remit required contributions and deductions.

11.       Defendant has refused to permit Plaintiffs’ auditors access to Defendant’s financial

records from January 1, 2018 to present and has refused to pay known delinquencies for

itself and its alter ego/single employer Headlands.

12.       Plaintiffs have demanded payment and Plaintiffs’ auditors have demanded access to

Defendant’s financial records in order to perform an audit.

13.       To date, Defendant has not made payment or permitted Plaintiffs’ auditors access to

Defendant’s financial records and has not paid known delinquent contributions, damages,

and interest for itself or its alter ego/single employer Headlands.

                                  FIRST CLAIM FOR RELIEF
                         (Breach of Collective Bargaining Agreement)

14.       The allegations above are incorporated specifically by reference as if fully re-alleged

herein.

15.       Pursuant to the terms of the CBA, Defendant was required to remit contributions to

Plaintiffs and to permit access to its financial records.

16.       As such, Plaintiffs are intended third-party beneficiaries entitled to enforce the terms

of the CBA.

17.       Defendant’s failure to permit access to financial records and its failure to remit

timely payment on the delinquent contributions and deductions, the liquidated damages,



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and interest assessed by Plaintiffs—on behalf of itself and its alter ego/single employer

Headlands—constitutes a breach of the CBA and a violation of 29 U.S.C. § 185.

18.       As a direct and proximate result of Defendant’s breach of the CBA, Plaintiffs have

suffered damages in an amount to be determined after an audit and at trial.

                                   SECOND CLAIM FOR RELIEF
                                           (ERISA)

19.       The allegations above are incorporated specifically by reference as if fully re-alleged

herein.

20.       Defendant’s failure and refusal to permit access to its financial records and to make

said payments under the CBA—on behalf of itself and on behalf of its alter ego/single

employer Headlands—constitutes a violation of 29 U.S.C. § 1145.

21.       Defendant’s violation of 29 U.S.C. § 1145 has damaged Plaintiffs.

22.       Plaintiffs therefore seek and are entitled to access to Defendant’s financial records; any

unpaid contributions discovered as a result of the audit; interest and penalties due and owing

on unpaid contributions; and the costs involved in bringing this action, including attorneys'

fees and expenses pursuant to 29 U.S.C. § 1132(g).

                                    THIRD CLAIM FOR RELIEF
                                       (Injunctive Relief)

23.       The allegations above are incorporated specifically by reference as if fully re-alleged

herein.

24.       In failing to permit access to its financial records and to pay contributions due and

owing under the CBA—on behalf of itself and on behalf of its alter ego/single employer

headlands—Defendant breached the terms of the governing documents of the Ohio Laborers

Benefits and violated 29 U.S.C. § 1145.

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25.    Plaintiffs therefore seek, pursuant to 29 U.S.C. §§ 1132(a)(3)(A) and (B) an Order from

this Court (1) ordering Defendant to provide Plaintiffs access to Defendant’s financial

records, (2) enjoining Defendant from further breaching the terms of the governing

documents of the Ohio Laborers Benefits and violating ERISA, (3) ordering Defendant to

submit monthly contribution reports to Plaintiffs, and (4) enforcing the governing

documents of the Ohio Laborers Benefits and ERISA.

                                   DEMAND FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment as follows:

       A.     That this Court enter an Order requiring Defendant to provide Plaintiffs with

access to Defendant’s financial records from January 1, 2018 until present and pay

currently known delinquencies on behalf of itself in the amount of $4,556.79—that is,

$1,519.00 in delinquent contributions, $2,987.79 in liquidated damages and interest, and

$50.00 in NSF fees;

       B.     That this Court enter an Order requiring Defendant to pay currently known

delinquencies on behalf of its alter ego/single employer Headlands in the amount of

$32,544.81—that is, $5,971.43 in liquidated damages and interest, $1,785.00 in attorney

fees on a judgment rendered against Defendant’s alter ego Headlands Contracting &

Tunneling, Inc. in Case No. 2:15-cv-03002; plus $1,029.92 in liquidated damages and

interest and $1,785.00 in attorney fees on a judgment rendered against Defendant’s alter

ego Headlands Contracting & Tunneling, Inc. in Case No. 2:16-cv-00433; plus $12,093.86 in

principal, $9,854.60 in liquidated damages and interest, and $25.00 in NSF fees not included

in the judgments;

       C.     That this Court enter an Order that Defendant’s failure to remit timely


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required contributions and deductions constitutes a violation of 29 U.S.C. § 1145;

       D.        That this Court enter an Order that Defendant’s failure to timely remit

required contributions and deductions—on behalf of itself and on behalf of its alter

ego/single employer Headlands—is a breach of the CBA and constitutes a violation of 29

U.S. C. § 185;

       E.        That this Court enter an Order requiring Defendant to pay to Plaintiffs the

current amount of delinquent contributions, liquidated damages, and interest owed as a

result of the untimely remittances discovered by virtue of the audit;

       F.        That this Court enter an Order pursuant to the CBA and 29 U.S.C. § 1132(g)

requiring Defendant to pay the costs of this action, including reasonable attorneys’ fees and

expenses; and

       G.        That this Court award any and all other relief deemed appropriate.

                                     Respectfully submitted,

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